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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

    MARY BELL, JANICE GRIDER, CINDY
    PROKISH, JOHN A. HOFFMAN, AND
    PAMELA M. LEINONEN,
                                                           Case No. 1:15-cv-02062-TWP-MPB
                        Plaintiffs,
                                                           District Court Judge Tanya Walton Pratt
             v.
                                                           Magistrate Judge Matthew P. Brookman
    ATH HOLDING COMPANY, LLC; BOARD
    OF DIRECTORS OF ATH HOLDING
    COMPANY, LLC; and PENSION
    COMMITTEE OF ATH HOLDING
    COMPANY,

                        Defendants.


                  DEFENDANTS’ PRELIMINARY WITNESS AND EXHIBIT LIST

            Defendants hereby submit their preliminary witness and exhibit list pursuant to the

   acknowledged Joint Notice Regarding Agreed Proposed Case Management Plan Deadlines.

   (ECF No. 122.) Defendants will file a final witness and exhibit list on January 16, 2019. This

   preliminary witness and exhibit list is based on information known to Defendants at this time,

   and is subject to change.

   I.       Preliminary Witness List

            Defendants preliminarily identify the following witnesses. Defendants do not represent

   that they will call each of these witnesses at trial.

            1.     The named Plaintiffs: John Hoffman, Mary Bell, Pamela Leinonen, Cindy

   Prokish, and Janice Grider;

            2.     The expert witnesses disclosed by Defendants: Priscilla Ryan, Steven Grenadier,

   Steven Gissiner, and Jennifer Conrad;



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            3.     Current and/or former members of the Pension Committee of ATH Holding

   Company, LLC (the “Pension Committee”), including Sandra Miller, John Gallina, Randal

   Brown, Jose Tomas, Scott Anglin, Diane Seaman, Ronald Penczek, and Keith Passwater;

            4.     Current and/or former members of the Board of Directors of ATH Holding

   Company, LLC (the “Board”), including Wayne DeVeydt, Carter Beck, Cathy Kelaghan, and

   John Gallina;

            5.     Current and/or former employees of Anthem with knowledge of the Plan and its

   operations, including Scott Anglin, Andrew Bauer, Christiaan Keating, Michael Harrison, Scott

   Hutchison, Joanne Imel, David Kretschmer, James Mattingly, Marc Nathan, Lisa Ooley, Mark

   Sabin, Vince Scher, Kelley Soper, Jacquelyn Wolf, and Pamela Ventura;

            6.     The Plan’s recordkeeper, the Vanguard Group (“Vanguard”), by deposition

   testimony;

            7.     Individuals familiar with the Plan as a result of their employment with Vanguard,

   including George Heming and Steven McFalls;

            8.     Individuals familiar with the Pension Committee’s monitoring of Plan fees,

   including Alan Vorchheimer of Buck Consultants, and Craig Rosenthal of Fiduciary

   Benchmarks, as well as any individuals contained on Plaintiffs’ preliminary exhibit list,

   including Roger Rovell, Christopher Witteman, Brian Murphy, Kyle Jackson, Andrew

   Rosenberg, and Sandra Pappa;

            9.     Recordkeepers for Conduent, Fiduciary Benchmarks, Mercer, Morgan Stanley,

   Towers Watson, and Vanguard;




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            10.      Other witnesses necessary for authentication and foundation for admission of

   other documents identified through discovery into evidence1;

            11.      Witnesses necessary for impeachment or rebuttal;

            12.      Witnesses identified on Plaintiffs’ witness list or called by Plaintiffs to testify at

   trial.

            Defendants’ preliminary witness list represents a good faith effort to identify witnesses

   that Defendants reasonably believe they may call to support their defenses or refute Plaintiffs’

   claims. Defendants reserve the right to supplement and/or amend this list. Further, Defendants’

   designations do not constitute a waiver of any right to object to witnesses called by Plaintiffs to

   testify at trial. Thus, this preliminary witness list does not constitute a waiver of any rights.

   II.      Preliminary Exhibit List

            Defendants preliminarily identify the following categories of exhibits. Defendants do not

   represent that they will introduce all documents that satisfy the following descriptions at trial.

            1.       The Plan documents and trust agreement, and amendments thereto;

            2.       Summary plan descriptions, summaries of material modifications, participant

   communications, and Plan Information documents provided to Plan participants;

            3.       Written resolutions and consents of the Board, including those appointing Pension

   Committee members;

            4.       Pension Committee meeting minutes, and materials prepared for, considered by or

   presented to the Pension Committee;

            5.       The Pension Committee charter, delegations of authority, outlines of roles and

   responsibilities, and the Plan’s Investment Policy Statements;


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    These witnesses will only be required to the extent the Parties are not able to reach stipulation regarding the
   admissibility of Defendants’ intended exhibits.

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            6.    Fee disclosure summaries and/or all-in fee reports, and other notices regarding

   fund and Plan recordkeeping and investment management fees and performance provided to the

   Pension Committee and to Plan participants regarding those Plan fees;

            7.    Engagement agreements service provider contracts, and correspondence reflecting

   the engagement of service providers, and documents reflecting the services provided pursuant to

   those agreements, and fees for services;

            8.    Fund and trust level documents, prospectuses and overviews, Forms 5500 and

   other governmental filings related to the Plan and its sponsor and/or service providers;

            9.    Data or summaries thereof relating to the Plan, fund balances, asset summaries,

   market activity summaries, participant transaction reports and balance data, and/or trial balance

   or market reports relating to the Plan;

            10.   Documents, data, or summaries thereof, showing the named Plaintiffs’ account

   balance, investment allocations, and transaction history;

            11.   Documents sent to or in the possession of Plaintiffs showing their investments in

   options available through the Plan as well as those outside the Plan, the information available to

   Plaintiffs when they made investment decisions, and the reasons for the named Plaintiffs’

   particular investment selections both within and outside the Plan;

            12.   Documents produced or in the possession of Plaintiffs reflecting social media or

   other conversations about the above captioned litigation;

            13.   Documents reflecting evaluation of the Plan’s recordkeeping and/or investment

   management services and costs by the Pension Committee, its delegates, and/or other outside

   consultants, including Towers Watson, Buck Consultants, and Fiduciary Benchmarks;

            14.   Documents concerning fee benchmarking or other analysis of fees for the Plan;



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             15.    Expert reports and documents, data, or information relied upon by any of the

   expert witnesses identified by the Parties;

             16.    Contracts and other agreements between the Plan and Vanguard, and

   correspondence related to services provided by Vanguard pursuant to the same;

             17.    All documents used as deposition exhibits in this matter;

             18.    All documents used as an exhibit in connection with any Parties’ filings with the

   Court in this matter;

             19.    Documents produced by non-Parties Vanguard, Towers Watson, and/or Conduent

   HR Consulting, LLC;

             20.    All discovery requests, discovery responses and deposition testimony in this

   matter;

             21.    Stipulations entered into between the Parties in this action;

             22.    Other relevant e-mail, memos, correspondence, and/or documents produced by

   the Parties during discovery in this matter.

             Defendants’ preliminary exhibit list represents a good faith effort to identify exhibits that

   Defendants reasonably believe they may use to support their defenses or refute Plaintiffs’ claims.

   Defendants reserve the right to supplement and/or amend this list. Further, Defendants’

   designations do not constitute a waiver of any right to object to any exhibits introduced by

   Defendants. Thus, this preliminary exhibit list does not constitute a waiver of any rights.




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    DATED: November 16, 2018                Respectfully submitted,

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                                            COMPANY, LLC; BOARD OF
                                            DIRECTORS OF ATH HOLDING
                                            COMPANY, LLC; and PENSION
                                            COMMITTEE OF ATH HOLDING
                                            COMPANY, LLC

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                                     CERTIFICATE OF SERVICE
            I hereby certify that I served this document on all counsel of record via ECF filing on

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